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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MONTANA
                           MISSOULA DIVISION

UNITED STATES OF AMERICA,      )               CR 11-57-M-DWM
                               )
               Plaintiff,      )
                               )
     vs.                       )               ORDER
                               )
SHAWN ANTHONY SWOR,            )
                               )
               Defendant.      )
______________________________ )

      United States Magistrate Judge Jeremiah C. Lynch entered Findings and

Recommendation in this matter on May 1, 2012. Neither party objected and

therefore they are not entitled to de novo review of the record. 28 U.S.C. §

636(b)(1); United States v. Reyna-Tapia, 328 F.3d 1114, 1121 (9th Cir. 2003).

This Court will review the Findings and Recommendation for clear error.

McDonnell Douglas Corp. v. Commodore Bus. Mach., Inc., 656 F.2d 1309, 1313

(9th Cir. 1981). Clear error exists if the Court is left with a “definite and firm

conviction that a mistake has been committed.” United States v. Syrax, 235 F.3d

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422, 427 (9th Cir. 2000).

      Judge Lynch recommended this Court accept Shawn Anthony Swor’s guilty

plea after Swor appeared before him pursuant to Federal Rule of Criminal

Procedure 11, and entered his plea of guilty to one count of Investment Fraud in

violation of 18 U.S.C. § 1343 (Counts II), as set forth in the Indictment. In

exchange for Defendant’s plea, the United States has agreed to dismiss Counts I,

III, and IV of the Indictment.

      I find no clear error in Judge Lynch’s Findings and Recommendation (doc.

62), and I adopt them in full, including the recommendation to defer acceptance of

the Plea Agreement until sentencing when the Court will have reviewed the Plea

Agreement and Presentence Investigation Report.

      Accordingly, IT IS HEREBY ORDERED that Shawn Anthony Swor’s

motion to change plea (doc. 54) is GRANTED.

      DATED this 22nd day of May, 2012.




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